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                                                                May 01, 2020




            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF MONTANA
                    GREAT FALLS DIVISION



NORTHERN PLAINS RESOURCE
COUNCIL, et al.,

         Plaintiffs,

                v.

U.S. ARMY CORPS OF ENGINEERS,
et al.,                               CV 19-44-GF-BMM

         Defendants,                  Order Granting Plaintiffs’
                                      Unopposed Motion to File a
TC ENERGY CORPORATION, et al.,        Combined Response to Federal
                                      Defendants’ Motion for Partial
         Intervenor-Defendants,       Stay Pending Appeal and TC
                                      Energy’s Motion for Stay
STATE OF MONTANA,                     Pending Appeal

         Intervenor-Defendant,

AMERICAN GAS ASSOCIATION,
et al.,

         Intervenor-Defendants.
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      Finding good cause, Plaintiffs’ Unopposed Motion to File a Combined

Response to Federal Defendants’ Motion for Partial Stay Pending Appeal and TC

Energy’s Motion for Stay Pending Appeal (Doc. 139) is hereby GRANTED.

Plaintiffs may file a combined response of up to 10,000 words by May 6, 2020.

     DATED this 1st day of May, 2020.
